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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

UNITED STATES OF AMERICA,                  §
                                           §
V.                                         §
                                           §          No. 3:16-cr-240-B (3)
ADETUTU ETTI,                              §
                                           §
              Defendant.                   §

                     MEMORANDUM OPINION AND ORDER

                                     Background

       Defendant Adetutu Etti has been found guilty by a jury of one count of

Conspiracy to Commit Health Care Fraud in violation of 18 U.S.C. § 1349 (18 U.S.C.

§ 1347) and two counts of False Statements in Health Care Matters in violation of 18

U.S.C. § 1035 and 2. See Dkt. No. 253 at 1-2. Under 18 U.S.C. § 3143(a)(1), United

States District Judge Jane J. Boyle remanded Defendant to the custody of the United

States Marshals immediately after the reading of the jury’s verdict but stated that

Defendant could file a motion for immediate referral to a magistrate judge on the issue

of whether clear and convincing evidence exits that Defendant is not likely to flee or

pose a danger to the safety of any other person or the community if released under 18

U.S.C. § 3142 (b) or (c).

       Defendant has filed an Emergency Motion for Release Pending Sentencing, in

which she explains:

       1. Ms. Etti was initially indicted for conspiracy to commit healthcare
       fraud on June 7, 2016. She entered an initial appearance on June 21,
       2016.

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      2. On June 23, 2016, United States Magistrate Judge David L Horan
      issued an order setting the conditions of pretrial release. [Dkt. 036]. In
      addition to the general requirements, Ms. Etti was ordered (among other
      requirements) to submit to supervision by and report for supervision to
      the Supervising Officer with the United States Probation, to limit her
      travel to the Norther District of Texas, surrender her passport, and
      refrain from involvement in any business involved in billing Medicaid or
      Medicare.
      3. Ms. Etti has remained compliant with every single one of her
      conditions of pretrial release while awaiting her trial, which concluded
      today.
      4. Today, October 30, 2018, Ms. Etti was found guilty of the charges in
      the Second Superseding Indictment.
      5. Judge Boyle ordered Ms. Etti remanded to the custody of the United
      States Marshals immediately after the reading of the jury’s verdict.
      6. Judge Boyle noted, however, that Ms. Etti could file a Motion for
      immediate referral to a Magistrate Judge on the issue of whether clear
      and convincing evidence exits that Ms. Etti is not likely to flee or pose a
      danger to the safety of any other person or the community if released
      under 18 U.S.C. § 3142 (b) or (c).
      ....
              Pursuant to 18 U.S.C. § 3143(a)(1), detention is not required if
      clear and convincing evidence exists that the defendant is not likely to fell
      or pose a danger to the safety of any other person or the community if
      released under § 3132 (b) or (c). No additional factors are required to be
      considered. Cf. 18 U.S.C. 3143(a)(2) (adding additional considerations for
      certain offenses not applicable here).
              Here, Ms. Etti is not a flight risk nor does she pose a danger to the
      safety of any other person or the community if released on her personal
      recognizance or other reasonable conditions consistent with those already
      in place for the past two and half years for Ms. Etti.
              As an initial matter, Ms. Etti suffers from several serious health
      condition. She was diagnosed with breast cancer in 2016, had a
      lumpectomy and partial masectomy in 2017, has heart and respiratory
      problems, high blood pressure, and is blind in one eye. She is still on
      medication related to her cancer treatment and diagnosis. Ms. Etti needs
      to be in the care of her doctor and with her loved ones until sentencing.
              Additionally, Ms. Etti has no criminal history and been fully
      compliant with all of the conditions of her pretrial release. Further, Ms.
      Etti’s American and Nigerian passports are in the custody of the clerk’s
      office. She has less than $2,000 in her bank accounts. She has been a
      Dallas resident for over 30 years, and her immediate family, including
      her daughters, her grandson, and her elderly mother all live in Dallas.

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      She is responsible for taking care of her elderly mother and grandson.
             Finally, while under indictment, Ms. Etti has also had several
      proffer sessions with the Government, including a reverse proffer where
      the Government laid out its case in full. Nevertheless, she has never
      made any attempt to flee or not face her consequences.
      ....
             For the reasons set forth herein, and in the interests of justice, Ms.
      Etti moves that she be released from custody while awaiting sentencing.
      Ms. Etti prays for such relief immediately upon the filing of this motion.
      In the alternative, Ms. Etti requests an emergency hearing as soon as
      practicable so she may be heard on the issues pursuant to 18 U.S.C. §
      3143(a)(1).

Dkt. No. 255 at 1-3.

      Judge Boyle referred this motion to the undersigned magistrate judge for

hearing, if necessary, and determination. See Dkt. No. 257.

      Defendant is now set for sentencing before Judge Boyle on March 14, 2019. See

Dkt. No. 261.

      The government opposes release pending sentencing. See Dkt. No.

      The Court held a hearing on the motion on November 1, 2018, at which

Defendant appeared in person and through counsel and the government’s counsel

appeared. See Dkt. Nos. 258 & 265.

                                  Legal Standards

      “[W]hether a defendant should be released pending trial and whether a

defendant should be released pending sentencing or appeal are distinct inquiries

governed by different provisions of the Bail Reform Act.” United States v. Lee, 31 F.

App’x 151, No. 01-30876, 2001 WL 1747632, at *1 (5th Cir. Dec. 4, 2001).

      “The provisions of 18 U.S.C. § 3143 govern release pending sentencing or


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appeal.” FED. R. CRIM. P. 46(c). “A convicted defendant has no constitutional right to

bail. Thus, as the parties acknowledge, any putative right to bail derives from 18

U.S.C. § 3143, which establishes a presumption against its being granted.” United

States v. Olis, 450 F.3d 583, 585 (5th Cir. 2006) (citations and internal quotation marks

omitted).

      Release of “a person who has been found guilty of an offense and who is awaiting

imposition or execution of sentence” pursuant to Section 3143(a)(1) requires that “the

judicial officer find[] by clear and convincing evidence that the person is not likely to

flee or pose a danger to the safety of any other person or the community if released

under section 3142(b) or (c).” 18 U.S.C. § 3143(a)(1); see also United States v. Morrison,

833 F.3d 491, 506 (5th Cir. 2016) (“The decision to detain Jacqueline after conviction

is a common one because of the presumption in favor of detention that attaches to a

convicted defendant. See 18 U.S.C. § 3143.”); United States v. Lopez, 504 F. App’x 297,

298 (5th Cir. 2012) (“A defendant who has been convicted ‘shall ... be detained’ pending

sentencing ‘unless the judicial officer finds by clear and convincing evidence that the

person is not likely to flee or pose a danger to the safety of any other person or the

community if released.’ Thus, there is a presumption against release pending

sentencing.” (footnotes omitted)).

      Absent such a finding – which requires the defendant’s release under 18 U.S.C.

§ 3142(b) or (c) – the convicted defendant “shall ... be detained” while “awaiting

imposition or execution of sentence.” 18 U.S.C. § 3143(a)(1) (“Except as provided in

paragraph (2), the judicial officer shall order that a person who has been found guilty

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of an offense and who is awaiting imposition or execution of sentence, other than a

person for whom the applicable guideline promulgated pursuant to 28 U.S.C. 994 does

not recommend a term of imprisonment, be detained, unless the judicial officer finds

by clear and convincing evidence that the person is not likely to flee or pose a danger

to the safety of any other person or the community if released under section 3142(b) or

(c). If the judicial officer makes such a finding, such judicial officer shall order the

release of the person in accordance with section 3142(b) or (c).”); accord United States

v. Abdallah, No. 01-11219, 281 F.3d 1279 (table), 2001 WL 1692455, at *1 (5th Cir.

Nov. 26, 2001).

      As the United States Court of Appeals for the Fifth Circuit has repeatedly

recognized, Federal Rule of Criminal Procedure 46(c) and Section 3143(a)(1) impose a

burden on a convicted defendant seeking release pending sentencing to show by clear

and convincing evidence that she or he is not a flight risk or a danger to the

community. See FED. R. CRIM. P. 46(c) (“The burden of establishing that the defendant

will not flee or pose a danger to any other person or to the community rests with the

defendant.”); United States v. Lockett, 549 F. App’x 269 (mem.), No. 13-11097, 2013 WL

6623771, at *1 (5th Cir. Dec. 17, 2013). And another Court of Appeals has explained

that “18 U.S.C. § 3143(a)(1) creates a presumption in favor of detention; it places the

burden on the defendant to defeat that presumption; and it requires the defendant to

carry that burden by clear and convincing evidence, not by a mere preponderance,” and

that “[o]nly if a defendant clears these high procedural hurdles is he entitled to release

pending sentencing.” United States v. Abuhamra, 389 F.3d 309, 320 (2d Cir. 2004).

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“Among factors the district court should consider in determining whether to grant a

convicted defendant’s motion for release pending sentencing are those factors

enumerated in 18 U.S.C. § 3142(g) governing pretrial release.” United States v. Majors,

932 F. Supp. 853, 855 (E.D. Tex. 1996) (citing United States v. Vance, 851 F.2d 166,

169-70 (6th Cir. 1988)).

                                       Analysis

      As the government correctly notes, courts routinely discount compliance with

pretrial release conditions when deciding on presentencing release because

“‘[s]omething has changed since trial; Defendant is no longer presumed innocent but

is guilty of the counts of conviction. His [or her] legal status has changed, increasing

his [or her] incentive to flee.’” United States v. Adenuga, No. 3:12-cr-313-P, 2014 WL

349568, at *5 (N.D. Tex. Jan. 31, 2014) (quoting United States v. Jinwright, No. 3:09-

cr-67-W, 2010 WL 2926084 (W.D.N.C. July 23, 2010)). “This change in legal status

removes the possibility that the defendant might avoid criminal punishment – subject

to appeal – which increases his incentive to flee.” United States v. Patel, No. CR 13-286,

2016 WL 80566, at *2 (E.D. La. Jan. 7, 2016) (citing United States v. Garcia Garcia,

727 F. Supp. 318, 320 (N.D. Tex. 1989), as “concluding that once a defendant has been

convicted ‘[t]he hope for leniency or victory at trial no longer exists to counterbalance

the incentive to avoid criminal punishment by fleeing the jurisdiction’”).

      The fact, then, that Defendant complied with the terms of her pretrial release

does not, in and of itself, clearly and convincingly show that Defendant is not a flight

risk post-conviction, even though Defendant has appeared for court and remained

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compliant on release.

      And proving by clear and convincing evidence that she is not likely to flee or pose

a danger to the community if released, after having been convicted, is a heavy burden,

but, for the reasons that the Court explained at the hearing, it is a burden that the

Court finds that Defendant has met it. Although Defendant has ties to Nigeria and

engaged in relatively recent travel to Nigeria and apparently could, as the government

explains, apply for a Nigerian passport in the United States, after having surrendered

her existing Nigerian passport, the Court finds from the proffers of evidence that

Defendant has a strong incentive to remain here to continue her ongoing medical care,

and there is no evidence that Defendant has engaged in continued health care fraud

since being arrested and released in this case.

      In short, for the reasons explained at the hearing, the Court finds that

Defendant has shown by clear and convincing evidence that she is not likely to flee or

pose a danger to the safety of any other person or the community if released under

section 3142(b) or (c), and, more specifically, her existing conditions of release set by

the Court’s June 23, 2016 Order Setting Conditions of Release [Dkt. No. 36], with the

additional conditions that Defendant must submit to location monitoring as directed

by the pretrial services office or supervising officer and comply with all of the program

requirements and instructions provided and that Defendant is subject to the location

restriction program – and must comply with its requirements as directed – of home

incarceration, under which she is restricted to 24-hour-a-day lock-down at her

residence except for medical necessities and medical appointments, attorney visits, and

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court appearances, and any other activities that may later be specifically approved in

advance by the court.

                                    Conclusion

      For these reasons, the Court GRANTS Defendant Adetutu Etti’s Emergency

Motion for Release Pending Sentencing [Dkt. No. 255].

      SO ORDERED.

      DATED: November 1, 2018



                                           ________________________________________
                                           DAVID L. HORAN
                                           UNITED STATES MAGISTRATE JUDGE




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